323/20ASE 3:17-cv-00072-NKM-JCH Document 687-1 indeahP3/23/20 Page lofi Pageid#: 9803

35) Huston Marsha x po x| + - 6 x

¢ Cf facebookcom/hutton.marshall

 

QA x BRoe-o%

ee a ae

   

 

Ge Hutton Marshall & Add Friend °
o

Reply - 1y

Friends See A % @ Hutton Marshall replied - 1 Reply
900 frends

Hutton Marshall updated his cover photc
February 10, 2019- @
1X 5 E

 

Anna Jake Tully Kelly Marshall

Ph

Diane Philips Elizabeth Ann

     
 

 

> Share

Life Events See A
& Elizabeth Ann

The BEST OF FRIENDS. | like how everyone is holding
their dog and | am holding Faith like a baby
°

Reply ty

  

https://mail.google.com/mail/u/0/#search/hutton+marshall/WhctkKJVjXpgRCdbZKXLPwliJHShtWpLbdsbSjJMqdRZGdGgQmdZTKZZNQMhMsQtXsxRX... 1/1
